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3    Fax: (916) 447-0592
4    Attorney for Cindy Hunter
5

6                                 IN THE UNITED STATES DISTRICT COURT

7                           FOR THE EASTERN DISTRICT OF CALIFORNIA

8
                                                     ) Case No.: 2:13-CR-00296 KJM
9    UNITED STATES OF AMERICA,                       )
                                                     ) STIPULATION FOR MODIFICATIONOF
10                   Plaintiff,                      ) PRETRIAL RELEASE CONDITIONS
                                                     )
11          vs.                                      )
                                                     )
12   CINDY HUNTER,                                   )
                                                     )
13                   Defendant                       )
14

15          The parties hereby stipulate that in addition to the previously ordered conditions of

16   pretrial release for Cindy Hunter, the following conditions be ordered:

17          Due to the location of the defendant’s residence in Chico, California, it is respectfully

18   recommended that the following special condition be removed:

19          16. Upon successful completion of the residential program, you shall participate in a

20   cognitive behavior treatment program as directed by the pretrial services officer. Such programs

21   may include group sessions led by a counselor or participation in a program administered by the

22   Pretrial Services office.

23          Pretrial Services and the assigned government prosecutor do not oppose this

24   modification.

25          All other terms and conditions of pretrial release previously imposed remain in effect.




                                        Stipulation and Order - 1
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2                                            Respectfully Submitted

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     Dated this 12th day of March, 2014              By: __/s/ Danny D. Brace, Jr,
4                                                           DANNY D. BRACE, JR.,
                                                            Attorney for Cindy Hunter
5

6                                                           By: /s/ Justin Lee
                                                            Authorized to Sign for Justin
7                                                           Lee on March 12, 2014
                                                            JUSTIN LEE
8                                                           Attorney for the United States
9
              IT IS SO ORDERED:
10
     Dated: March 13, 2014
11

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     Hunte0296.stipo.modify.cor
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                                    Stipulation and Order - 2
